


  PER CURIAM.
 

  The appellant challenges the denial of his motion brought pursuant to Florida Rule of Criminal Procedure 3.850. It is apparent that the appellant’s prior rule 3.850 motion only addressed the appellant’s convictions resulting from his plea agreement and the appellant’s instant rule 3.850 motion only addresses his convictions following his jury trial. Because there were separate judgments and sentences entered in the appellant’s ease, the instant motion does not appear to be successive. Accordingly, we reverse and remand to the lower court to address the appellant’s claims on the merits.
 

  REVERSED.
 

  WEBSTER, PADOVANO, and ROWE, JJ., concur.
 
